                    Exhibit 25
Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 1 of 20 PageID #:
                                    6584
                           INCIDENT




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 2 of 20 PageID #:
                                    6585
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_ UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081782129                 3             315555 PWSQL1              6/2/2020 WATSONINCIDENT
                                                                                            WATSON                           INCIDENT        Add           Incident                          Record Added                 TN0900100            FALSE        FALSE        TRUE
      -2081782126                 3             315555 PWSQL1              6/2/2020 WATSONINCIDENT
                                                                                            WATSON                           INCIDENT        EDIT          Incident             Date_Status                 Jun 2 2020 5:55AM
                                                                                                                                                                                                                          TN0900100            FALSE        FALSE        TRUE
      -2081782125                 3             315555 PWSQL1              6/2/2020 WATSONINCIDENT
                                                                                            WATSON                           INCIDENT        EDIT          Incident             Rape_Case      0            1             TN0900100            FALSE        FALSE        TRUE
      -2081780082                 3             315555 JC-FLPDDV2          6/2/2020 KPETERS K                                PETERS          EDIT          Incident             Folder_Link 223             980           TN0900100            FALSE        FALSE        TRUE
      -2081780081                 3             315555 JC-FLPDDV2          6/2/2020 KPETERS K                                PETERS          EDIT          Incident             Folder_Number0005-00001     0402 00002 TN0900100               FALSE        FALSE        TRUE
      -2081503573                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Case_Disposition            3             TN0900100            FALSE        FALSE        TRUE
      -2081503572                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Arrest_Near                 0             TN0900100            FALSE        FALSE        TRUE
      -2081503571                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Date_Cleared                Jul 1 2020 12:00AM
                                                                                                                                                                                                                          TN0900100            FALSE        FALSE        TRUE
      -2081503570                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Exceptional_Clearance       D             TN0900100            FALSE        FALSE        TRUE
      -2081503569                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Date_Exceptional_Clear      Jul 1 2020 12:00AM
                                                                                                                                                                                                                          TN0900100            FALSE        FALSE        TRUE
      -2081503568                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Unknown_Time                0             TN0900100            FALSE        FALSE        TRUE
      -2081503567                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Prints_Found                0             TN0900100            FALSE        FALSE        TRUE
      -2081503566                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Drug_Related                0             TN0900100            FALSE        FALSE        TRUE
      -2081503565                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Family_Violence             0             TN0900100            FALSE        FALSE        TRUE
      -2081503564                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Hate_Motivated              0             TN0900100            FALSE        FALSE        TRUE
      -2081503563                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Assault                     0             TN0900100            FALSE        FALSE        TRUE
      -2081503562                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Trtmnt                      0             TN0900100            FALSE        FALSE        TRUE
      -2081503561                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Victim_Advised              0             TN0900100            FALSE        FALSE        TRUE
      -2081503560                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Children_Involved           0             TN0900100            FALSE        FALSE        TRUE
      -2081503559                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Children_Present            0             TN0900100            FALSE        FALSE        TRUE
      -2081503558                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Jail_Prison                 0             TN0900100            FALSE        FALSE        TRUE
      -2081503557                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Property_Supplement         0             TN0900100            FALSE        FALSE        TRUE
      -2081503556                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Narrative_Supplement        0             TN0900100            FALSE        FALSE        TRUE
      -2081503555                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Statements                  0             TN0900100            FALSE        FALSE        TRUE
      -2081503554                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Other_Supplement            0             TN0900100            FALSE        FALSE        TRUE
      -2081503553                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Investigation               0             TN0900100            FALSE        FALSE        TRUE
      -2081503552                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Intelligence                0             TN0900100            FALSE        FALSE        TRUE
      -2081503551                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Records                     0             TN0900100            FALSE        FALSE        TRUE
      -2081503550                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Follow_Up                   0             TN0900100            FALSE        FALSE        TRUE
      -2081503549                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Off_Supplement              0             TN0900100            FALSE        FALSE        TRUE
      -2081503548                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Incident                    0             TN0900100            FALSE        FALSE        TRUE
      -2081503547                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Offense                     0             TN0900100            FALSE        FALSE        TRUE
      -2081503546                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Narr_Juv_Info               0             TN0900100            FALSE        FALSE        TRUE
      -2081503545                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Narr_Wit_Info               0             TN0900100            FALSE        FALSE        TRUE
      -2081503544                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Narr_Evd_Info               0             TN0900100            FALSE        FALSE        TRUE
      -2081503543                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Narr_Veh_Info               0             TN0900100            FALSE        FALSE        TRUE
      -2081503542                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Evidence_Obtained           0             TN0900100            FALSE        FALSE        TRUE
      -2081503541                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             serializedproperty          0             TN0900100            FALSE        FALSE        TRUE
      -2081503540                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             VehicleStatusIndicator      0             TN0900100            FALSE        FALSE        TRUE
      -2081503539                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             GangRelated                 0             TN0900100            FALSE        FALSE        TRUE
      -2081503538                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Alcohol_Related             0             TN0900100            FALSE        FALSE        TRUE
      -2081503537                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Child_Related               0             TN0900100            FALSE        FALSE        TRUE
      -2081503536                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Domestic_Violence_Related   0             TN0900100            FALSE        FALSE        TRUE
      -2081503535                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Cult_Related                0             TN0900100            FALSE        FALSE        TRUE
      -2081503534                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Traffic_Related             0             TN0900100            FALSE        FALSE        TRUE
      -2081503533                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Alcohol_Factor              0             TN0900100            FALSE        FALSE        TRUE
      -2081503532                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Drug_Factor                 0             TN0900100            FALSE        FALSE        TRUE
      -2081503531                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Crimes_Children_Factor      0             TN0900100            FALSE        FALSE        TRUE
      -2081503530                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Dom_Violence_Factor         0             TN0900100            FALSE        FALSE        TRUE
      -2081503529                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Gang_Factor                 0             TN0900100            FALSE        FALSE        TRUE



                                                                 Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 3 of 20 PageID #:
                                                                                                     6586
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_ UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_ BeforeValue_ AfterValue_ Jurisdiction_ Confidential_      Juvenile_   Rape_Case_
      -2081503528                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Hate_Factor                    0             TN0900100       FALSE     FALSE        TRUE
      -2081503527                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Satanic_Factor                 0             TN0900100       FALSE     FALSE        TRUE
      -2081503526                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Traffic_Factor                 0             TN0900100       FALSE     FALSE        TRUE
      -2081503525                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             At_or_Near                     0             TN0900100       FALSE     FALSE        TRUE
      -2081503524                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             College_University             0             TN0900100       FALSE     FALSE        TRUE
      -2081503523                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             ACIC_NCIC                      0             TN0900100       FALSE     FALSE        TRUE
      -2081503522                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             GCIC_INQ                       0             TN0900100       FALSE     FALSE        TRUE
      -2081503521                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             GCIC_Entry                     0             TN0900100       FALSE     FALSE        TRUE
      -2081503520                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Officer_arrived_time
                                                                                                                                                                                               Jun 2 2020 3:55AM             TN0900100       FALSE     FALSE        TRUE
      -2081503519                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Victim_Witness                 0             TN0900100       FALSE     FALSE        TRUE
      -2081503518                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Suspect_Arrestee               0             TN0900100       FALSE     FALSE        TRUE
      -2081503517                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Photographed                   0             TN0900100       FALSE     FALSE        TRUE
      -2081503516                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Rape_Vrfy                      0             TN0900100       FALSE     FALSE        TRUE
      -2081503515                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Rape_Trtmnt                    0             TN0900100       FALSE     FALSE        TRUE
      -2081503514                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Original_Report                0             TN0900100       FALSE     FALSE        TRUE
      -2081503513                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Phone_Report                   0             TN0900100       FALSE     FALSE        TRUE
      -2081503512                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Information_Only               0             TN0900100       FALSE     FALSE        TRUE
      -2081503511                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             School_Factor                  0             TN0900100       FALSE     FALSE        TRUE
      -2081503506                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Case_Disposition
                                                                                                                                                                                               3                             TN0900100       FALSE     FALSE        TRUE
      -2081503505                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Date_Cleared Jul 1 2020 12:00AM              TN0900100       FALSE     FALSE        TRUE
      -2081503504                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Exceptional_Clearance
                                                                                                                                                                                               D                             TN0900100       FALSE     FALSE        TRUE
      -2081503503                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Date_Exceptional_Clear
                                                                                                                                                                                               Jul 1 2020 12:00AM            TN0900100       FALSE     FALSE        TRUE
      -2081503500                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Folder_Link 980                1738          TN0900100       FALSE     FALSE        TRUE
      -2081503499                 3             315555 JC-5XYFHQ2          7/1/2020 DCAREY D                                 CAREY-DUNN      EDIT          Incident             Folder_Number0402 00002        1312 00013 TN0900100          FALSE     FALSE        TRUE
      -2081083579                 3             315555 JC-D063DV2        8/17/2020 DHILTON D                                 HILTON          EDIT          Incident             Case_Disposition               3             TN0900100       FALSE     FALSE        TRUE
      -2081083578                 3             315555 JC-D063DV2        8/17/2020 DHILTON D                                 HILTON          EDIT          Incident             Exceptional_Clearance          D             TN0900100       FALSE     FALSE        TRUE
      -2081083577                 3             315555 JC-D063DV2        8/17/2020 DHILTON D                                 HILTON          EDIT          Incident             Date_Exceptional_Clear         Aug 17 2020 12:00AM
                                                                                                                                                                                                                             TN0900100       FALSE     FALSE        TRUE
      -2081083509                 3             315555 JC-D063DV2        8/17/2020 DHILTON D                                 HILTON          EDIT          Incident             Folder_Link 1738               1948          TN0900100       FALSE     FALSE        TRUE
      -2081083508                 3             315555 JC-D063DV2        8/17/2020 DHILTON D                                 HILTON          EDIT          Incident             Folder_Number1312 00013        1802-00002 TN0900100          FALSE     FALSE        TRUE
      -2081083235                 3             315555 SBOWMAN-D         8/17/2020 SBOWMAN  S                                BOWMAN          EDIT          Incident             Date_Cleared                   Aug 17 2020 12:00AM
                                                                                                                                                                                                                             TN0900100       FALSE     FALSE        TRUE
      -2080734411                 3             315555 JC-8XMXN23        9/21/2020 JHAMES J                                  HAMES           EDIT          Incident             Description Forcible Rape - Blevins,
                                                                                                                                                                                                               Attempt
                                                                                                                                                                                                                     Katie
                                                                                                                                                                                                                       Rape -TN0900100
                                                                                                                                                                                                                              Blevins, Katie FALSE     FALSE        TRUE
      -2074192274                 3             315555 JC-D063DV2        6/30/2022 DHILTON D                                 HILTON          Printed       Incident                                            Report PrintedTN0900100       FALSE     FALSE        FALSE
      -2074151830                 3             315555 JC-FLPDDV2          7/5/2022 KPETERS K                                PETERS          Printed       Incident                                            Report PrintedTN0900100       FALSE     FALSE        FALSE
      -2074148568                 3             315555 JC-8XMXN23          7/5/2022 JHAMES J                                 HAMES           Viewed        Incident                                            Report ViewedTN0900100        FALSE     FALSE        FALSE
      -2074129160                 3             315555 JC-FLPDDV2          7/7/2022 KPETERS K                                PETERS          Printed       Incident                                            Report PrintedTN0900100       FALSE     FALSE        FALSE




                                                                 Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 4 of 20 PageID #:
                                                                                                     6587
                         CASE




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 5 of 20 PageID #:
                                    6588
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_               AfterValue_                 Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081782132                 2              317492 PWSQL1             6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                                           TN0900100            FALSE         FALSE       TRUE
      -2081782128                 2              317492 PWSQL1             6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                              315555                      TN0900100            FALSE         FALSE       TRUE
      -2081782127                 2              317492 PWSQL1             6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                          1                           TN0900100            FALSE         FALSE       TRUE
      -2081780612                 2              317492 SBOWMAN-D          6/2/2020 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                          1                           TN0900100            FALSE         FALSE        TRUE
      -2081780173                 2              317492 JC-FLPDDV2         6/2/2020 KPETERS          K                                  PETERS          EDIT          RMS_Case             Investigate                                       Yes                         TN0900100            FALSE         FALSE        TRUE
      -2081780172                 2              317492 JC-FLPDDV2         6/2/2020 KPETERS          K                                  PETERS          EDIT          RMS_Case             Mgmt_Status_Date                                  Jun 2 2020 8:05AM           TN0900100            FALSE         FALSE        TRUE
      -2081780171                 2              317492 JC-FLPDDV2         6/2/2020 KPETERS          K                                  PETERS          EDIT          RMS_Case             Validated              1                          0                           TN0900100            FALSE         FALSE        TRUE
      -2081780084                 2              317492 JC-FLPDDV2         6/2/2020 KPETERS          K                                  PETERS          EDIT          RMS_Case             Folder_Link            223                        980                         TN0900100            FALSE         FALSE       TRUE
      -2081780083                 2              317492 JC-FLPDDV2         6/2/2020 KPETERS          K                                  PETERS          EDIT          RMS_Case             Folder_Number          0005-00001                 0402 00002                  TN0900100            FALSE         FALSE        TRUE
      -2081779816                 2              317492 JC-MXL94159F5      6/2/2020 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                          1                           TN0900100            FALSE         FALSE        TRUE
      -2081764480                 2              317492 JC-5XYFHQ2         6/3/2020 DCAREY           D                                  CAREY-DUNN      EDIT          RMS_Case             Case_Description       Forcible Rape - FEMALE 2   RAPE (A) FEMALE 2           TN0900100            FALSE         FALSE       TRUE
      -2081503510                 2              317492 JC-5XYFHQ2         7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          RMS_Case             Validated              1                          0                           TN0900100            FALSE         FALSE        TRUE
      -2081503509                 2              317492 JC-5XYFHQ2         7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          RMS_Case             Mgmt_Status_Date       Jun 2 2020 8:05AM          Jul 1 2020 3:50PM           TN0900100            FALSE         FALSE       TRUE
      -2081503508                 2              317492 JC-5XYFHQ2         7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          RMS_Case             Case_Closed            0                          1                           TN0900100            FALSE         FALSE        TRUE
      -2081503502                 2              317492 JC-5XYFHQ2         7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          RMS_Case             Folder_Link            980                        1738                        TN0900100            FALSE         FALSE       TRUE
      -2081503501                 2              317492 JC-5XYFHQ2         7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          RMS_Case             Folder_Number          0402 00002                 1312 00013                  TN0900100            FALSE         FALSE        TRUE
      -2081499154                 2              317492 SBOWMAN-D          7/2/2020 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                          1                           TN0900100            FALSE         FALSE        TRUE
      -2081083621                 2              317492 JC-D063DV2        8/17/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date       Jul 1 2020 3:50PM          Aug 17 2020 9:56AM          TN0900100            FALSE         FALSE        TRUE
      -2081083620                 2              317492 JC-D063DV2        8/17/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Validated              1                          0                           TN0900100            FALSE         FALSE        TRUE
      -2081083511                 2              317492 JC-D063DV2        8/17/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            1738                       1948                        TN0900100            FALSE         FALSE        TRUE
      -2081083510                 2              317492 JC-D063DV2        8/17/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          1312 00013                 1802-00002                  TN0900100            FALSE         FALSE        TRUE
      -2081073239                 2              317492 SBOWMAN-D         8/18/2020 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                          1                           TN0900100            FALSE         FALSE        TRUE
      -2080734483                 2              317492 JC-8XMXN23        9/21/2020 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              1                          0                           TN0900100            FALSE         FALSE        TRUE
      -2080734419                 2              317492 JC-8XMXN23        9/21/2020 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                          1                           TN0900100            FALSE         FALSE        TRUE
      -2080734415                 2              317492 JC-8XMXN23        9/21/2020 JHAMES           J                                  HAMES           EDIT          RMS_Case             Case_Description       RAPE (A) FEMALE 2          Attempt RAPE (A) FEMALE 2   TN0900100            FALSE         FALSE        TRUE
      -2080734410                 2              317492 JC-8XMXN23        9/21/2020 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              1                          0                           TN0900100            FALSE         FALSE        TRUE
      -2080731360                 2              317492 JC-MXL94159F5     9/21/2020 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                          1                           TN0900100            FALSE         FALSE        TRUE




                                                                             Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 6 of 20 PageID #:
                                                                                                                 6589
                     OFFENSE




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 7 of 20 PageID #:
                                    6590
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081782124                 8             386436 PWSQL1              6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     Rape_Case       0              1             TN0900100            FALSE         FALSE       TRUE
      -2081782123                 8             386436 PWSQL1              6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     UCR_Hierarchy   2                            TN0900100            FALSE         FALSE       TRUE
      -2081782122                 8             386436 PWSQL1              6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Offense                     Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2081780074                 8             386436 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          Incident_Offense     Folder_Link     223            980           TN0900100            FALSE         FALSE       TRUE
      -2081780073                 8             386436 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          Incident_Offense     Folder_Number   0005-00001     0402 00002    TN0900100            FALSE         FALSE       TRUE
      -2081503492                 8             386436 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          Incident_Offense     Folder_Link     980            1738          TN0900100            FALSE         FALSE       TRUE
      -2081503491                 8             386436 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          Incident_Offense     Folder_Number   0402 00002     1312 00013    TN0900100            FALSE         FALSE       TRUE
      -2081083501                 8             386436 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          Incident_Offense     Folder_Link     1738           1948          TN0900100            FALSE         FALSE       TRUE
      -2081083500                 8             386436 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          Incident_Offense     Folder_Number   1312 00013     1802-00002    TN0900100            FALSE         FALSE       TRUE
      -2080734484                 8             386436 JC-8XMXN23         9/21/2020 JHAMES           J                                  HAMES           EDIT          Incident_Offense     Completed_Bt    1              0             TN0900100            FALSE         FALSE       TRUE




                                                                   Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 8 of 20 PageID #:
                                                                                                       6591
                 NAME




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 9 of 20 PageID #:
                                    6592
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081782080                 4             810550 PWSQL1              6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Name                        Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2081780078                 4             810550 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          Incident_Name        Folder_Link     223            980           TN0900100            FALSE         FALSE       TRUE
      -2081780077                 4             810550 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          Incident_Name        Folder_Number   0005-00001     0402 00002    TN0900100            FALSE         FALSE       TRUE
      -2081503496                 4             810550 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          Incident_Name        Folder_Link     980            1738          TN0900100            FALSE         FALSE       TRUE
      -2081503495                 4             810550 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          Incident_Name        Folder_Number   0402 00002     1312 00013    TN0900100            FALSE         FALSE       TRUE
      -2081083505                 4             810550 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          Incident_Name        Folder_Link     1738           1948          TN0900100            FALSE         FALSE       TRUE
      -2081083504                 4             810550 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          Incident_Name        Folder_Number   1312 00013     1802-00002    TN0900100            FALSE         FALSE       TRUE




                                                                  Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 10 of 20 PageID #:
                                                                                                       6593
   INCIDENT NARRATIVE




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 11 of 20 PageID #:
                                     6594
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081782060                 40            723081 PWSQL1            6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2081782059                 40            723081 PWSQL1            6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2081780257                 40            723081 JC-FLPDDV2        6/2/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081780129                 40            723081 JC-FLPDDV2        6/2/2020 KPETERS          K                                  PETERS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081780128                 40            723081 JC-FLPDDV2        6/2/2020 KPETERS          K                                  PETERS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081780125                 40            723081 JC-FLPDDV2        6/2/2020 KPETERS          K                                  PETERS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081780072                 40            723081 JC-FLPDDV2        6/2/2020 KPETERS          K                                  PETERS          EDIT          Narrative            Source_Module_Link   223            980                TN0900100            FALSE         FALSE       TRUE
      -2081764531                 40            723081 JC-5XYFHQ2        6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081764492                 40            723081 JC-5XYFHQ2        6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081764483                 40            723081 JC-5XYFHQ2        6/3/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081748686                 40            723081 JC-FLPDDV2        6/5/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081503726                 40            723081 JC-5XYFHQ2        7/1/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081503725                 40            723081 JC-5XYFHQ2        7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503589                 40            723081 JC-5XYFHQ2        7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503588                 40            723081 JC-5XYFHQ2        7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503583                 40            723081 JC-5XYFHQ2        7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503490                 40            723081 JC-5XYFHQ2        7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          Narrative            Source_Module_Link   980            1738               TN0900100            FALSE         FALSE       TRUE
      -2081083598                 40            723081 JC-D063DV2       8/17/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081083597                 40            723081 JC-D063DV2       8/17/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081083592                 40            723081 JC-D063DV2       8/17/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081083499                 40            723081 JC-D063DV2       8/17/2020 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   1738           1948               TN0900100            FALSE         FALSE       TRUE
      -2080734418                 40            723081 JC-8XMXN23       9/21/2020 JHAMES           J                                  HAMES           EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2078318481                 40            723081 CHILL-N           6/2/2021 CHILL            CONNIE                             HILL            Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2074167011                 40            723081 JC-FLPDDV2        7/3/2022 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072056453                 40            723081 JC-HL6MQG2       1/31/2023 SDYKES           S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2072055506                 40            723081 JC-8XMXN23       1/31/2023 JHAMES           J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2068057546                 40            723081 JC-MXL94159B6    3/29/2024 MADAMS           M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE




                                                                    Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 12 of 20 PageID #:
                                                                                                         6595
      INCIDENT CASE NOTES




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 13 of 20 PageID #:
                                     6596
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081782058                 40            723082 PWSQL1              6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2081782057                 40            723082 PWSQL1              6/2/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2081780256                 40            723082 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081780215                 40            723082 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081780127                 40            723082 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081780126                 40            723082 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081780124                 40            723082 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081780067                 40            723082 JC-FLPDDV2          6/2/2020 KPETERS          K                                  PETERS          EDIT          Narrative            Source_Module_Link   223            980                TN0900100            FALSE         FALSE       TRUE
      -2081764532                 40            723082 JC-5XYFHQ2          6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081764493                 40            723082 JC-5XYFHQ2          6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081764491                 40            723082 JC-5XYFHQ2          6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081764487                 40            723082 JC-5XYFHQ2          6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081764486                 40            723082 JC-5XYFHQ2          6/3/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081764482                 40            723082 JC-5XYFHQ2          6/3/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081748685                 40            723082 JC-FLPDDV2          6/5/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081748683                 40            723082 JC-FLPDDV2          6/5/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081748681                 40            723082 JC-FLPDDV2          6/5/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081709853                 40            723082 JC-FLPDDV2          6/9/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081709597                 40            723082 JC-FLPDDV2          6/9/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081704494                 40            723082 JC-FLPDDV2          6/9/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081693387                 40            723082 JC-5XYFHQ2         6/10/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081692933                 40            723082 JC-HYJL7X2         6/10/2020 MGRYDER          M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081684243                 40            723082 JC-5XYFHQ2         6/11/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081682302                 40            723082 JC-FLPDDV2         6/11/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081682287                 40            723082 JC-5XYFHQ2         6/11/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081676241                 40            723082 JC-5XYFHQ2         6/12/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081675389                 40            723082 JC-5XYFHQ2         6/12/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081654743                 40            723082 JC-5XYFHQ2         6/15/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081649309                 40            723082 JC-FLPDDV2         6/16/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2081587768                 40            723082 JC-5XYFHQ2         6/22/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081566821                 40            723082 JC-D063DV2         6/24/2020 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081566815                 40            723082 JC-D063DV2         6/24/2020 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081504020                 40            723082 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081503962                 40            723082 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081503587                 40            723082 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503585                 40            723082 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503582                 40            723082 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081503485                 40            723082 JC-5XYFHQ2          7/1/2020 DCAREY           D                                  CAREY-DUNN      EDIT          Narrative            Source_Module_Link   980            1738               TN0900100            FALSE         FALSE       TRUE
      -2081379094                 40            723082 JC-D063DV2         7/15/2020 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081083676                 40            723082 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2081083596                 40            723082 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081083594                 40            723082 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081083591                 40            723082 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2081083494                 40            723082 JC-D063DV2         8/17/2020 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   1738           1948               TN0900100            FALSE         FALSE       TRUE
      -2080734659                 40            723082 JC-8XMXN23         9/21/2020 JHAMES           J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2080734498                 40            723082 JC-8XMXN23         9/21/2020 JHAMES           J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2080734482                 40            723082 JC-8XMXN23         9/21/2020 JHAMES           J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2080734417                 40            723082 JC-8XMXN23         9/21/2020 JHAMES           J                                  HAMES           EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080051807                 40            723082 JC-HZ2Q7X2       11/30/2020 TSPARKS           T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2079910540                 40            723082 JC-HZ2Q7X2       12/15/2020 TSPARKS           T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2078647772                 40            723082 JC-HZ2Q7X2         4/30/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2078612792                 40            723082 JC-HZ2Q7X2          5/4/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2078318480                 40            723082 CHILL-N             6/2/2021 CHILL            CONNIE                             HILL            Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2074192273                 40            723082 JC-D063DV2         6/30/2022 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE



                                                                       Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 14 of 20 PageID #:
                                                                                                            6597
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074192224                 40            723082 JC-D063DV2       6/30/2022 DHILTON   D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074167010                 40            723082 JC-FLPDDV2        7/3/2022 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151823                 40            723082 JC-FLPDDV2        7/5/2022 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151822                 40            723082 JC-FLPDDV2        7/5/2022 KPETERS   K                                  PETERS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074150094                 40            723082 JC-HZ2Q7X2        7/5/2022 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074149983                 40            723082 JC-D063DV2        7/5/2022 DHILTON   D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148574                 40            723082 JC-8XMXN23        7/5/2022 JHAMES    J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148571                 40            723082 JC-8XMXN23        7/5/2022 JHAMES    J                                  HAMES           Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074129159                 40            723082 JC-FLPDDV2        7/7/2022 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129158                 40            723082 JC-FLPDDV2        7/7/2022 KPETERS   K                                  PETERS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2073445168                 40            723082 JC-FLWBDV2       9/12/2022 BCHURCH   B                                  CHURCH          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072269820                 40            723082 JC-8XMXN23       1/12/2023 JHAMES    J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072207546                 40            723082 JC-8XMXN23       1/19/2023 JHAMES    J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072057826                 40            723082 JC-8XMXN23       1/31/2023 JHAMES    J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055931                 40            723082 JC-FLPDDV2       1/31/2023 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055687                 40            723082 JC-D063DV2       1/31/2023 DHILTON   D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055548                 40            723082 JC-D063DV2       1/31/2023 DHILTON   D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055462                 40            723082 JC-8XMXN23       1/31/2023 JHAMES    J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055343                 40            723082 JC-HZ2Q7X2       1/31/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055259                 40            723082 JC-FLPDDV2       1/31/2023 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072054727                 40            723082 JC-D063DV2       1/31/2023 DHILTON   D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984713                 40            723082 JC-HZ2Q7X2        2/7/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071024843                 40            723082 JC-HZ2Q7X2       5/16/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071018246                 40            723082 JC-MXL9415LFT    5/17/2023 GWills    G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070697810                 40            723082 JC-MXL9415LFT    6/22/2023 GWills    G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070654052                 40            723082 JC-HZ2Q7X2       6/26/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070469273                 40            723082 JC-FFZ26X3       7/15/2023 MHOLLIS   M                                  HOLLIS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244688                 40            723082 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244401                 40            723082 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244324                 40            723082 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069513303                 40            723082 JC-D063DV2     10/23/2023 MGRYDER    M                                  GRYDER          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069042762                 40            723082 JC-8XMXN23     12/13/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068057543                 40            723082 JC-MXL94159B6    3/29/2024 MADAMS    M                                  ADAMS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE




                                                                   Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 15 of 20 PageID #:
                                                                                                        6598
DUNN CASE NOTES




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 16 of 20 PageID #:
                                     6599
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_    DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2081764490                 40            723300 JC-5XYFHQ2           6/3/2020 DCAREY    D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081764489                 40            723300 JC-5XYFHQ2           6/3/2020 DCAREY    D                                  CAREY-DUNN      EDIT          Narrative            Source_Module_Link                  980                 TN0900100            FALSE        FALSE        TRUE
      -2081764488                 40            723300 JC-5XYFHQ2           6/3/2020 DCAREY    D                                  CAREY-DUNN      Add           Narrative                                 Record Added                       TN0900100            FALSE        FALSE        TRUE
      -2081764485                 40            723300 JC-5XYFHQ2           6/3/2020 DCAREY    D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081764484                 40            723300 JC-5XYFHQ2           6/3/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081764481                 40            723300 JC-5XYFHQ2           6/3/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081748684                 40            723300 JC-FLPDDV2           6/5/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081748682                 40            723300 JC-FLPDDV2           6/5/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081748680                 40            723300 JC-FLPDDV2           6/5/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081709852                 40            723300 JC-FLPDDV2           6/9/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081709596                 40            723300 JC-FLPDDV2           6/9/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081704493                 40            723300 JC-FLPDDV2           6/9/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081693386                 40            723300 JC-5XYFHQ2         6/10/2020 DCAREY     D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081693380                 40            723300 JC-5XYFHQ2         6/10/2020 DCAREY     D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081692932                 40            723300 JC-HYJL7X2         6/10/2020 MGRYDER    M                                  GRYDER          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081684242                 40            723300 JC-5XYFHQ2         6/11/2020 DCAREY     D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081684205                 40            723300 JC-5XYFHQ2         6/11/2020 DCAREY     D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081682301                 40            723300 JC-FLPDDV2         6/11/2020 KPETERS    K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081682286                 40            723300 JC-5XYFHQ2         6/11/2020 DCAREY     D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081682284                 40            723300 JC-5XYFHQ2         6/11/2020 DCAREY     D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081675388                 40            723300 JC-5XYFHQ2         6/12/2020 DCAREY     D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081654742                 40            723300 JC-5XYFHQ2         6/15/2020 DCAREY     D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081654739                 40            723300 JC-5XYFHQ2         6/15/2020 DCAREY     D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081649308                 40            723300 JC-FLPDDV2         6/16/2020 KPETERS    K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081587767                 40            723300 JC-5XYFHQ2         6/22/2020 DCAREY     D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081587645                 40            723300 JC-5XYFHQ2         6/22/2020 DCAREY     D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081566820                 40            723300 JC-D063DV2         6/24/2020 DHILTON    D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081566816                 40            723300 JC-D063DV2         6/24/2020 DHILTON    D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081566814                 40            723300 JC-D063DV2         6/24/2020 DHILTON    D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081504019                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081504017                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081503961                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081503727                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081503586                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081503584                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081503581                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081503484                 40            723300 JC-5XYFHQ2           7/1/2020 DCAREY    D                                  CAREY-DUNN      EDIT          Narrative            Source_Module_Link   980            1738                TN0900100            FALSE        FALSE        TRUE
      -2081379093                 40            723300 JC-D063DV2         7/15/2020 DHILTON    D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081083675                 40            723300 JC-D063DV2         8/17/2020 DHILTON    D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2081083595                 40            723300 JC-D063DV2         8/17/2020 DHILTON    D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081083593                 40            723300 JC-D063DV2         8/17/2020 DHILTON    D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081083590                 40            723300 JC-D063DV2         8/17/2020 DHILTON    D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2081083493                 40            723300 JC-D063DV2         8/17/2020 DHILTON    D                                  HILTON          EDIT          Narrative            Source_Module_Link   1738           1948                TN0900100            FALSE        FALSE        TRUE
      -2080734658                 40            723300 JC-8XMXN23         9/21/2020 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080734497                 40            723300 JC-8XMXN23         9/21/2020 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080734481                 40            723300 JC-8XMXN23         9/21/2020 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080734416                 40            723300 JC-8XMXN23         9/21/2020 JHAMES     J                                  HAMES           EDIT          NARRATIVE                                                                    TN0900100            FALSE        FALSE        TRUE
      -2080051806                 40            723300 JC-HZ2Q7X2        11/30/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2079910539                 40            723300 JC-HZ2Q7X2        12/15/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2079910534                 40            723300 JC-HZ2Q7X2        12/15/2020 TSPARKS    T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2078647771                 40            723300 JC-HZ2Q7X2         4/30/2021 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078612791                 40            723300 JC-HZ2Q7X2           5/4/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078318479                 40            723300 CHILL-N              6/2/2021 CHILL     CONNIE                             HILL            Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE



                                                                       Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 17 of 20 PageID #:
                                                                                                            6600
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2074192272                 40            723300 JC-D063DV2      6/30/2022 DHILTON    D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074192271                 40            723300 JC-D063DV2      6/30/2022 DHILTON    D                                  HILTON          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074192223                 40            723300 JC-D063DV2      6/30/2022 DHILTON    D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151821                 40            723300 JC-FLPDDV2        7/5/2022 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074151820                 40            723300 JC-FLPDDV2        7/5/2022 KPETERS   K                                  PETERS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074150093                 40            723300 JC-HZ2Q7X2        7/5/2022 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074150066                 40            723300 JC-HZ2Q7X2        7/5/2022 TSPARKS   T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074149982                 40            723300 JC-D063DV2        7/5/2022 DHILTON   D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148573                 40            723300 JC-8XMXN23        7/5/2022 JHAMES    J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148572                 40            723300 JC-8XMXN23        7/5/2022 JHAMES    J                                  HAMES           Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074129157                 40            723300 JC-FLPDDV2        7/7/2022 KPETERS   K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129156                 40            723300 JC-FLPDDV2        7/7/2022 KPETERS   K                                  PETERS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2073445167                 40            723300 JC-FLWBDV2      9/12/2022 BCHURCH    B                                  CHURCH          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072269819                 40            723300 JC-8XMXN23      1/12/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072269709                 40            723300 JC-8XMXN23      1/12/2023 JHAMES     J                                  HAMES           Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2072207545                 40            723300 JC-8XMXN23      1/19/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072057824                 40            723300 JC-8XMXN23      1/31/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055930                 40            723300 JC-FLPDDV2      1/31/2023 KPETERS    K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055686                 40            723300 JC-D063DV2      1/31/2023 DHILTON    D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055547                 40            723300 JC-D063DV2      1/31/2023 DHILTON    D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055505                 40            723300 JC-8XMXN23      1/31/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055342                 40            723300 JC-HZ2Q7X2      1/31/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055258                 40            723300 JC-FLPDDV2      1/31/2023 KPETERS    K                                  PETERS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072054726                 40            723300 JC-D063DV2      1/31/2023 DHILTON    D                                  HILTON          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984712                 40            723300 JC-HZ2Q7X2        2/7/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984711                 40            723300 JC-HZ2Q7X2        2/7/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071024842                 40            723300 JC-HZ2Q7X2      5/16/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071024841                 40            723300 JC-HZ2Q7X2      5/16/2023 TSPARKS    T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2071018245                 40            723300 JC-MXL9415LFT   5/17/2023 GWills     G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070697809                 40            723300 JC-MXL9415LFT   6/22/2023 GWills     G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070697808                 40            723300 JC-MXL9415LFT   6/22/2023 GWills     G                                  WILLS           Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070654051                 40            723300 JC-HZ2Q7X2      6/26/2023 TSPARKS    T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070654050                 40            723300 JC-HZ2Q7X2      6/26/2023 TSPARKS    T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2070469272                 40            723300 JC-FFZ26X3      7/15/2023 MHOLLIS    M                                  HOLLIS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244687                 40            723300 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244686                 40            723300 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2069513302                 40            723300 JC-D063DV2     10/23/2023 MGRYDER    M                                  GRYDER          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069042761                 40            723300 JC-8XMXN23     12/13/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068057542                 40            723300 JC-MXL94159B6   3/29/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE




                                                                  Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 18 of 20 PageID #:
                                                                                                       6601
  SPARKS CASE NOTES




Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 19 of 20 PageID #:
                                     6602
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2070244400                 40            912503 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2070244397                 40            912503 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          EDIT          Narrative            Source_Module_Link                  1948               TN0900100            FALSE        FALSE        TRUE
      -2070244396                 40            912503 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Add           Narrative                                 Record Added                      TN0900100            FALSE        FALSE        TRUE
      -2070244323                 40            912503 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2069042760                 40            912503 JC-8XMXN23     12/13/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE
      -2068057536                 40            912503 JC-MXL94159B6   3/29/2024 MADAMS     M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE        FALSE        FALSE




                                                                  Case 2:23-cv-00071-TRM-JEM Document 235-26 Filed 06/28/24 Page 20 of 20 PageID #:
                                                                                                       6603
